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                                                January 6, 2025

By ECF
Hon. Paul G. Gardephe
United States District Judge
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

        Re:     SEC v. Ho Wan Kwok, et al., 23 Civ. 2200 (PGG)

Dear Judge Gardephe:

         Plaintiff Securities and Exchange Commission (“SEC”) respectfully submits this
letter to update the Court regarding its efforts to serve relief defendant Qiang Guo (a/k/a
Mileson Guo).

        Earlier today, the SEC filed an affidavit of service as to Qiang Guo. (Dkt. 68). The
SEC effectuated service in the United Kingdom (“UK”) pursuant to Federal Rule of Civil
Procedure 4(f)(2)(A), which, in circumstances applicable here, permits service of an
individual outside the United States by a means that is reasonably calculated to give notice as
prescribed by the foreign country’s law for service in that country in an action in its courts of
general jurisdiction.

        As set forth in the letter from the SEC’s UK counsel attached as Exhibit A hereto,
service as to Qiang Guo was effectuated in a manner authorized by Rule 6.9 of the Civil
Procedure Rules of England and Wales, which allows for service at a defendant’s last known
address.

        The SEC has now completed service of all defendants and relief defendants.

                                                Respectfully submitted,

                                                /s/ Daniel Loss____
                                                Daniel Loss
                                                Counsel to the SEC

cc:     All counsel of record (by ECF)
